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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF NEBRASKA
                                 LINCOLN DIVISION

CATHERINE PALMER, individually and on                )   CASE NO. 4:19-CV-3084
behalf of others similarly situated,                 )   JUDGE JOHN M. GERRARD
                                                     )
                       Plaintiff,                    )   MAGISTRATE JUDGE MICHAEL D.
       vs.                                           )   NELSON
                                                     )
KCI USA, INC.,                                       )
                                                     )
                       Defendant.                    )

   PLAINTIFF’S MOTION FOR LEAVE TO FILE AN AMENDED CLASS ACTION
                            COMPLAINT

                                           Introduction

       The Telephone Consumer Protection Act (“TCPA”) prohibits “any person” from making

“any call (other than a call made for emergency purposes or made with the prior express consent

of the called party) by using any automatic telephone dialing system or an artificial or prerecorded

voice” to “any telephone number assigned to a . . . cellular telephone service[.]” 47 U.S.C. §

227(b)(1)(A)(iii).

       Against this backdrop, Catherine Palmer (“Plaintiff”) alleged that KCI USA, Inc. (“KCI”)

violated the TCPA by placing calls to her cellular telephone number, and the cellular telephone

numbers of the members of her proposed class, by using an automatic telephone dialing system

(“ATDS”) or an artificial or prerecorded voice, without prior express consent. More specifically,

Plaintiff alleged that Defendant’s calls to her cellular telephone number, and the cellular telephone

numbers of the members of her proposed class, were wrong number calls intended for recipients

other than Plaintiff and the members of her proposed class, and thus violated the TCPA. Accord

N. L. by Lemos v. Credit One Bank, N.A., 960 F.3d 1164, 1167 (9th Cir. 2020) (“intent to call a




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customer who had consented to its calls does not exempt [the caller] from liability under the TCPA

when it calls someone else who did not consent”). 1

        Correspondingly, Plaintiff proposed the following class definition: “All persons and

entities throughout the United States (1) to whom KCI USA, Inc. placed, or caused to be placed,

a call directed to a number assigned to a cellular telephone service, but not assigned to the intended

recipient of KCI USA, Inc.’s calls, (3) by using an automatic telephone dialing system or an

artificial or prerecorded voice, (4) from four years prior to the date of this complaint through and

including the date of class certification.”

        But just weeks ago, and for the first time, Defendant testified that it lacks prior express

consent to place ATDS and artificial or prerecorded voice calls to most all cellular telephone

numbers to which it places calls—not just wrong or reassigned numbers. As such, Plaintiff seeks

leave to file an amended complaint to allege that Defendant not only violated the TCPA by placing

ATDS and artificial or prerecorded voice calls to wrong or reassigned cellular telephone numbers

absent prior express consent, but also that Defendant violated the TCPA, as a blanket pattern and

practice, by placing ATDS and artificial or prerecorded voice calls to cellular telephone numbers

generally, absent prior express consent.

        Correspondingly, Plaintiff seeks leave to include the following additional class definition

in her amended class action complaint: “All persons and entities throughout the United States (1)



1
        See also Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014) (explaining
that only the current subscriber to a cellular telephone number can provide valid consent to receive
calls made by an ATDS); Soppet v. Enhanced Recovery Co., LLC, 679 F.3d 637, 641 (stating that
“[c]onsent to call a given number must come from its current subscriber”); In the Matter of Rules
and Regulations Implementing the Telephone Consumer Protection Act of 1991, 30 FCC Rcd.
7961, 2015 WL 4387780 (F.C.C. July 10, 2015) (clarifying that the “called party” who must
provide prior express consent “is the subscriber, i.e., the consumer assigned the telephone number
dialed and billed for the call, or the non-subscriber customary user of a telephone number included
in a family or business calling plan”).


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to whom KCI USA, Inc. placed, or caused to be placed, a call directed to a number assigned to a

cellular telephone service, (3) by using the Cisco Unified Contact Center Enterprise dialing system,

or an artificial or prerecorded voice, (4) from August 19, 2015 through the date of class

certification.”

        Relatedly, Plaintiff seeks leave to add detail regarding Defendant’s dialing practices. For

example, Plaintiff plans to refer to Defendant’s particular dialing system—the Cisco Unified

Contact Center Enterprise dialing system—throughout her amended class action complaint, as

opposed to referring more generally to Defendant’s use of an ATDS.

        Given these new facts recently learned through discovery, good cause exists for Plaintiff

to amend her complaint. Moreover, the amendment will not impact any remaining case deadlines.

                                 Relevant Facts and Procedure

        On October 9, 2019, Plaintiff filed her class action complaint against Defendant, ECF No.

1, through which she alleged that Defendant violated the TCPA by using an ATDS or an artificial

or prerecorded voice to place calls to wrong or reassigned telephone numbers, without prior

express consent. See id., ¶¶ 1-3, 33, 58, 70-71. Plaintiff included in her original class action

complaint the following proposed class definition:

        All persons and entities throughout the United States (1) to whom KCI USA, Inc.
        placed, or caused to be placed, a call directed to a number assigned to a cellular
        telephone service, but not assigned to the intended recipient of KCI USA, Inc.’s
        calls, (3) by using an automatic telephone dialing system or an artificial or
        prerecorded voice, (4) from four years prior to the date of this complaint through
        and including the date of class certification.

Id., ¶ 47.

        On October 28, 2019—less than three weeks after she filed her class action complaint—

Plaintiff served Defendant with written discovery requests targeted, in part, to elicit information

and documents regarding prior express consent Defendant believes it has to place calls to telephone



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numbers by using an ATDS or an artificial or prerecorded voice. See, e.g., Plaintiff’s Initial Written

Discovery Requests, attached as Exhibit 1, at Request for Production No. 19 (“For the telephone

numbers [at issue] documents and electronically stored information evidencing express consent

Defendant had to make, or cause to be made, communications, or attempted communications, to

the telephone numbers, by using an automatic telephone dialing system, a predictive dialer, or an

artificial or prerecorded voice.”).

            On February 10, 2020—more than three months after Plaintiff served Defendant with her

initial written discovery requests—Defendant responded: “Subject to and without waiving the

foregoing objections, KCI states: Attached.” Defendant, however, never actually attached any

document responsive to Plaintiff’s Request for Production No. 19. Accord Transcript of Michelle

Hahn, attached as Exhibit 2, at 116:6-23 (“[Q.] 19 says: For telephone numbers identified through

[D]efendant’s answers to previous interrogatories and requests for production, documents and

electronically stored information evidencing express consent defendant had to make or caused to

be made communications or attempted communications to the telephone numbers by using what

amounts to the Cisco dialing system and a prerecorded voice. And [Defendant] responds with an

objection, but they also state, it also states, that subject and to and without waiving the foregoing

objection [Defendant] states attached. Now, I’m not aware of any document that I can tell attached

that is responsive.·Do you know what document KCI is referring to when it says attached? A. I do

not.”). 2




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       Testimony pursuant to Rule 30(b)(6) “bind[s] the corporation on the noticed subjects.”
Reed v. Bennett, 193 F.R.D. 689, 692 (D. Kan. 2000).



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        In hindsight, this is not surprising given that on July 29, 2020 3 Defendant made Plaintiff

aware—for the first time—that it does not obtain from the intended recipients of its calls prior

express consent to place calls to their telephone numbers by using an ATDS or an artificial or

prerecorded voice. Rather, Defendant simply assumes it has prior express consent to do so:

        [Q.]    My question, first, is does or did [Defendant] document or really otherwise
                memorialize a person’s express consent to receive communications by way
                of the Cisco dialer anywhere in its dialer or HERO notes?

        MR. KRUEGER:· Object to form. Michelle, you can answer.

        A.· ·   As we discussed earlier, we don’t have direct consent from the patient.· It’s
                assumed through the fact that a requester has ordered our product in order
                to help treat a patient. Therefore, we would contact them for usage.

        Q.· ·   Okay.· I understand.· So then I guess it’s probably just sort of logically
                concluded that there’s no actual consent designation or notes for a specific
                customer in [Defendant’s] records; is that right?

        A.      Correct.

Exhibit 2 at 117:8-118:1; accord 33:15-35:7 (explaining that persons to whom Defendant places

calls generally do not directly provide personal contact information to Defendant); id. at 87:21-




3
        As relevant background, on March 5, 2020 Plaintiff provided Defendant with a draft notice
of deposition pursuant to Rule 30(b)(6), and asked for dates on which one or more of Defendant’s
representatives was able to provide testimony regarding the listed topics. Defendant’s counsel
responded: “First of all, thank you for the deposition notice recently served as to [Defendant]. We
are consulting with our client as to available dates and will revert back to you by early next week
with some proposed dates.” But Defendant’s counsel did not “revert back.” So on May 27, 2020
Plaintiff served Defendant with a notice of deposition pursuant to Rule 30(b)(6), which set a June
11, 2020 deposition date. On May 28, 2020 Defendant’s counsel responded: “Received and I had
been contemporaneously working with client on available dates. I do not think that the 11th will
work, but I will have an alternate date for you by eow. Thanx. ELZ.” Again, however, Defendant’s
counsel failed to respond, much less provide an “alternate date.” And only after more than one
additional follow-up request did Defendant offer July 22, 2020 as a date on which it could provide
the testimony requested. Accordingly, on July 10, 2020 Plaintiff served Defendant with an
amended notice of deposition pursuant to Rule 30(b)(6), which set a July 22, 2020 deposition date.
Subsequently, per Defendant’s request, the deposition was moved out another week until July 29,
2020.


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90:1 (explaining that as a matter of pattern and practice Defendant does not obtain prior express

consent to place calls to telephone numbers directly from the intended recipient of its calls); see,

e.g., id. at 132:25-133:3 (“Q. And the assumption we’re working with is that                      gave

the telephone number at issue to the requester; is that fair? A. Yes.”); id. at 88:20-89:1 (“Q.·Okay.

So -- and just put this in a nutshell: [Defendant] never obtained express consent to place calls to

the telephone number at issue directly from             , did it? . . . . A. Not that I’m aware of.”).

       Accordingly, Defendant characterizes the consent it purports to obtain to place calls to

telephone numbers by using an ATDS or an artificial or prerecorded voice as implied consent:

       Q.· ·   So how does -- so let’s just take, for example, a third-party caregiver, and
               that caregiver provided a [Defendant]’s customer’s number to [Defendant],
               how does [Defendant] know that any consent that the caregiver obtained to
               call the number applies to [Defendant]?

       MR. KRUEGER:· Same objection, and to the extent it calls for a legal conclusion.
       Michelle, you can answer.

       A.· ·   So if they are providing us with the patient’s information in order to provide
               the patient with a product the implied consent, I believe, would apply to
               [Defendant] because they’re·using our product.

       Q.· ·   Okay.· But that’s implied, is the way you look at it?

       A.· ·   Correct.

Id. at 130:21-131:12; see also id. at 130:13-17 (explaining that Defendant does not “know if a

third-party caregiver specifically gets consent for KCI to call a telephone number by using an

artificial voice or a prerecorded voice.”).

       Remarkably—given Defendant’s understanding that it obtains only implied, as opposed to

express consent, to place calls by using an ATDS or an artificial or prerecorded voice—Defendant

does not “do anything to independently verify that third parties, such as caregivers who provided

a customer’s telephone number to [Defendant], actually obtain consent from the customer to dial




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the telephone number by way of an automatic telephone dialing system or a prerecorded voice.”

Id. at 128:16-129:3. Similarly, Defendant did not “throughout the relevant time period, ever

independently review the manner in which third parties, such as a caregiver who provided a

customer’s telephone number to [Defendant], obtain consent from the customer to dial the

telephone number by using an automatic telephone dialing system or a prerecorded voice.” Id. at

129:4-20. Along the same line, Defendant did not “throughout the relevant time period, ever

independently review language that third parties, such as a caregiver who provided customers

telephone number to KCI, use to obtain consent from the customer to dial that number, for

example, by an automatic telephone dialer or prerecorded voice.” Id. at 129:21-130:7.

                                            Argument

       Because Plaintiff seeks leave to amend her class action complaint after the corresponding

deadline established by this Court’s case progression order, see ECF No, 26 at 1, she must satisfy

both Rule 16(a)(4) and Rule 15(a)(2).

  I.   Plaintiff satisfies Rule 16(a)(4)’s good cause standard to modify the deadline to amend
       pleadings.

       Rule 16 states that “a schedule may be modified only for good cause and with the judge’s

consent.” Fed. R. Civ. P. 16(b)(4); see also Jacobs v. Fareportal, Inc., 8:17CV362, 2018 WL

6107064, at *1 (D. Neb. Nov. 21, 2018) (Zwart, M.J.) (“The good cause requirement applies to

modifying the deadlines in a case scheduling order. Fed. R. Civ. P. 16(b)(4).”). And as this Court

explained, “[t]he movant’s level of diligence and the degree of prejudice to the parties are both

factors to consider when assessing if good cause warrants extending a case management deadline,

with the movant’s diligence being the first consideration and the extent of prejudice to either party

considered only following a requisite threshold finding of due diligence.” McDonald Apiary, LLC

v. Starrh Bees, Inc., 8:14-CV-351, 2016 WL 4919885, at *2 (D. Neb. Sept. 14, 2016) (Gerrard,



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J.); see also Carefusion 213, LLC v. Prof’l Disposables, Inc., No. CIV.A. 09–2616–KHV, 2010

WL 4004874, at 3-4 (D. Kan. Oct. 12, 2010) (“To establish good cause under Rule 16(b)(4), the

moving party must show that the amendment deadline could not have been met even if it had acted

with due diligence.”).

       It follows, therefore, that good cause under Rule 16(b)(4) exists where a party seeks leave

to file an amended complaint, without unreasonable delay, based upon new information learned

through the discovery process. See, e.g., McDonald, 2016 WL 4919885, at *2 (finding good cause

to allow an amendment beyond the progression deadline in light of “newly discovered facts”);

United States v. Copar Pumice Co., No. CIV. 09-1201 JP/RLP, 2013 WL 9601485, at *5 (D.N.M.

July 30, 2013) (“[T]he United States has the right to amend its complaint in light of new

information gained through discovery if it supports the proposed amendment and explains the

delay in seeking leave to amend.”).

       Here, on July 29, 2020, Defendant made Plaintiff aware—for the first time—that it does

not obtain prior express consent from the intended recipients of its calls, to place calls to their

cellular telephone numbers by using an ATDS or an artificial or prerecorded voice. That is, just

weeks ago—despite Plaintiff’s October 28, 2019 formal request for information and documents

regarding prior express consent relevant to Plaintiff’s and the proposed class members’ claims in

this matter, and notwithstanding Plaintiff’s March 5, 2020 request for related testimony—

Defendant made Plaintiff aware that it obtains only “assumed” or “implied” consent to place calls

by using an ATDS or an artificial or prerecorded voice, as opposed to prior express consent. And

this is significant as prior “express” consent is legally distinct from prior “implied” consent. See

Kolinek v. Walgreen Co., No. 13 C 4806, 2014 WL 3056813, at *4 (N.D. Ill. July 7, 2014) (“The

‘rule’ that the Court had erroneously found in the FCC 2008 Order amounted to a version of




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implied consent. But that is not what the statute requires; it says that prior express consent is

needed.”); Thrasher-Lyon v. CCS Commercial, LLC, No. 11 C 04473, 2012 WL 3835089, at *5

(N.D. Ill. Sept. 4, 2012) (“Bizarre would be to read ‘express consent’ as ‘implied consent.’ In

ordinary parlance, there is no such thing as ‘implied express consent’—that is an oxymoron.”);

Leckler v. CashCall, Inc., 554 F. Supp. 2d 1025, 1029 (N.D. Cal. 2008) (explaining that the

statutory construction in question was manifestly contrary to the language of the TCPA because it

amends “prior express” to “prior express or implied ”), vacated on other grounds, 2008 WL

5000528 (N.D. Cal. Nov.21, 2008); Travel, Kirkwood, Inc. v. Jen N.Y. Inc., 206 S.W.3d 387, 392

(Mo. App. 2006) (“implicit consent is insufficient under the law”); Chair King, Inc. v. GTE

Mobilnet of Houston, Inc., 135 S.W.3d 365, 394 (Tex. App. 2004) (“permission [would be] based

on an inference, and, as such, seems to conflict with the TCPA’s requirement that the invitation or

permission be express”), rev’d on other grounds, 184 S.W. 3d 707 (Tex. 2006).

       Relatedly, the Federal Communications Commission (“FCC”), the agency tasked with

implementing the TCPA, found that telephone numbers provided for use with one account cannot

be used as prior express consent to make prerecorded or automated calls regarding another account.

See In re Rules & Regs. Implementing the Telephone Consumer Protection Act, 31 FCC Rcd. 9054,

at ¶32 (Aug. 4, 2016); id. at ¶¶ 17-19, 29, 30.

       Considering this, Plaintiff has good cause under Rule 16(b)(4) to modify this Court’s

scheduling order—which set January 15, 2020 as the deadline for moving to amend pleadings, see

ECF No. 26 at 1—for purposes of seeking leave to file an amended class action complaint.

 II.   Plaintiff satisfies Rule 15(a)(2)’s liberal standard to amend pleadings.

       Pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure, “[t]he court should freely

give leave [to amend] when justice so requires.” Willstrop v. Prince Mktg. LLC, 8:17CV350, 2020




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WL 1550237, at *2 (D. Neb. Apr. 1, 2020) (Zwart, M.J.) (observing “liberal Rule 15(a) amendment

standard”);   see    also    Houweling’s     Nurseries    Oxnard,    Inc.   v.   Robertson,     No.

214CV00611JNPPMW, 2016 WL 7496114, at *1 (D. Utah Dec. 30, 2016) (same).

       Under Rule 15(a), “absent a good reason for denial—such as undue delay, bad faith or

dilatory motive, repeated failure to cure deficiencies by amendments previously allowed, undue

prejudice to the non-moving party, or futility of amendment—leave to amend should be granted.”

Kozohorsky v. Harmon, 332 F.3d 1141, 1144 (8th Cir. 2003). And a motion to amend should be

denied on the merits “only if it asserts clearly frivolous claims or defenses.” Gamma–10 Plastics,

Inc. v. Am. President Lines, 32 F.3d 1244, 1255 (8th Cir. 1994) (quotations and citations omitted).

       Further, “likelihood of success on the new claim or defense is not a consideration for

denying leave to amend unless the claim is clearly frivolous” “or legally insufficient on its face.”

Becker v. Univ. of Neb., 191 F.3d 904, 908 (8th Cir. 1999). “The party opposing such amendment

ha[s] the burden of establishing that leave to amend would be . . . futile.” Tracy Broad. Corp. v.

Spectrum Scan, 8:06CV336, 2006 WL 3240712, at *1 (D. Neb. Nov. 7, 2006) (Thalken, M.J.).

       Additionally, courts are to be “mindful of the liberal policy toward amendments and the

underlying purpose of Rule 15—to facilitate decision on the merits rather than on the pleadings or

technicalities.” Id. (quotations omitted).

       Here, there exists no “good reason” to deny Plaintiff leave to amend her class action

complaint. There is no undue delay, as Plaintiff wasted no time in seeking leave to amend her

complaint following the discovery of new evidence that Defendant lacks prior express consent to

place ATDS and artificial or prerecorded voice calls to most cellular telephone numbers to which

it places calls—not just wrong or reassigned numbers. See supra Argument at § I; see also Doyle

v. Eli Lilly & Co., 8:06CV412, 2008 WL 215802, at *2 (D. Neb. Jan. 24, 2008) (no undue delay




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even though “motion to amend [was] outside the deadline initially imposed by the court by over

one year” since the “plaintiffs provide good cause for the motion” where defendant failed to

disclose certain information in discovery). Prejudice is lacking given that no trial date is yet set,

see Patton v. Guyer, 443 F.2d 79, 86 (10th Cir. 1971) (finding that there was no prejudice because

the amendment was authorized several months prior to trial), and that Plaintiff’s proposed

amended claim stems from the same factual allegations, and involves the same subject matter,

found in Plaintiff’s original class action complaint. See, e.g., McDonald, 2016 WL 4919885, at *3

(“the new allegations and claims are closely related to already-pending issues, and do not

materially alter the nature of this case”); Smith v. Chrysler Corp., 938 F. Supp. 1406, 1412 (S.D.

Ind. 1996) (granting leave to amend complaint and finding no prejudice to defendant since plaintiff

was merely “amend[ing] the complaint to conform to the evidence revealed” in discovery and the

facts “added support the different types of claims presented, but not to the extent that the

defendants would have to start all over again with discovery.”); Childers v. Indep. Sch. Dist. No.

1, 676 F.2d 1338, 1343 (10th Cir. 1982) (ruling that the district court’s refusal to allow an

amendment was “particularly egregious in this case because the subject matter of the amendment

was already alleged in the complaint”); Gillette v. Tansy, 17 F.3d 308, 313 (10th Cir. 1994)

(finding no evidence of prejudice when the “[p]etitioner’s amended claims track the factual

situations set forth in his [original] claims”). Plaintiff has no bad faith or dilatory motive in seeking

leave to file an amended class action complaint. And Plaintiff’s proposed amended claim is

certainly not futile. 4



4
       Also noteworthy, “practical prejudice” does not suffice to deny a motion for leave to
amend. See Patton, 443 F.2d at 86. Instead, the inquiry is “whether the allowing of the amendment
produced a grave injustice to the defendant.” Id. Accordingly important, “the expenditure of time,
money, and effort alone is not grounds for a finding of prejudice.” Bylin v. Billings, 568 F.3d 1224,
1230-31 (10th Cir. 2009).


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       What’s more, courts routinely grant plaintiffs leave to amend TCPA-specific pleadings

based on facts learned through the discovery process. See, e.g., Mantha v. QuoteWizard.com, LLC,

No. CV 19-12235-LTS, 2020 WL 4369701, at *2 (D. Mass. July 30, 2020) (granting leave to

amend a TCPA complaint based on newly discovered facts obtained from the defendant’s

discovery responses); Becerra v. Nat’l Recovery Sols., LLC, No. 13-CV-1547-BEN DHB, 2014

WL 3700210, at *4 (S.D. Cal. July 24, 2014) (granting leave to amend a TCPA complaint to add

distinct cause of action, based on newly discovered facts obtained from the defendant’s discovery

responses, and noting that the plaintiff’s delay was the likely result of the defendant’s delayed and

incomplete discovery production); Alvarez v. MediCredit, Inc., No. 5-17-CV-195-DAE, 2017 WL

9362799, at *2 (W.D. Tex. Dec. 11, 2017) (granting leave to amend a TCPA complaint where the

plaintiff discovered new call logs identifying additional calls from the defendant). And this case

should be no different.

                                            Conclusion

       Plaintiff respectfully requests that this Court grant her leave to file her proposed amended

class action complaint, which she attaches in redline format as Exhibit 3, and in a clean format as

Exhibit 4.


       Dated: August 24, 2020                 Respectfully submitted,

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                                            Counsel for Plaintiff and the proposed classes

                               CERTIFICATE OF SERVICE

       I certify that on August 24, 2020, the foregoing document was filed with the Court using

CM/ECF, which will send notification of such to counsel of record.

                                            /s/ Aaron D. Radbil
                                            Aaron D. Radbil




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